






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-08-00184-CV






Thomas Walker Lynch, Appellant


v.



Hyunhee Choi Lynch, Appellee






FROM THE DISTRICT COURT OF WILLIAMSON COUNTY, 395TH JUDICIAL
DISTRICT NO. 06-1054-F395, HONORABLE JON N. WISSER, JUDGE PRESIDING 






M E M O R A N D U M   O P I N I O N



	Appellant Thomas Walker Lynch filed his notice of appeal on March 24, 2008.  On
August 1, 2008, this Court received notice from the Williamson County district clerk's office that
appellant had not paid or made arrangements to pay for the clerk's record.  The clerk of this Court
sent notice to appellant on August 11, 2008, requesting appellant to advise this Court if he wished
to continue his pursuit of the instant appeal.  Appellant did not respond; therefore, on
September&nbsp;19,&nbsp;2008, the clerk of this Court sent notice to appellant that this appeal would be
dismissed for want of prosecution if appellant did not submit notice in writing on or before
September 30, 2008, stating that he had paid for or made arrangements to pay for the clerk's record. 
	Appellant responded to this Court's notice on November 17, 2008, but appellant's
response did not comport with this Court's request to inform the Court about the status of the record. 
Although appellant stated that he may qualify for indigent status, he failed to include an affidavit of
indigence with his response.  See Tex. R. App. P. 20.1 (requiring affidavit of indigence to proceed
without payment of costs).

	In the interest of justice, this Court issued an order requesting appellant to file a
proper affidavit of indigence on or before January 9, 2009.  See id. 20.1(c)(3).  To date, appellant has
failed to file an affidavit of indigence or otherwise respond to this Court's order.  We dismiss the
instant appeal for want of prosecution.  See id. 42.3(c).


					__________________________________________

					Jan P. Patterson, Justice

Before Justices Patterson, Pemberton and Waldrop

Dismissed for Want of Prosecution

Filed:   February 4, 2009


